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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


 COMMONWEALTH OF MASSACHUSETTS,                   )
 et al.                                           )
                                                  )
                             Plaintiffs,          )
                                                  )
               v.                                 )   Case No. 1:25-cv-10338
                                                  )
 NATIONAL INSTITUTES OF HEALTH, et al.,           )
                                                  )
                             Defendants.          )
                                                  )
                                                  )
 ASSOCIATION OF AMERICAN MEDICAL                  )
 COLLEGES, et al.                                 )
                                                  )
                            Plaintiffs,           )
                                                  )
               v.                                 )   Case No. 1:25-cv-10340
                                                  )
 NATIONAL INSTITUTES OF HEALTH, et al.,           )
                                                  )
                             Defendants.          )
                                                  )
                                                  )
 ASSOCIATION OF AMERICAN                          )
 UNIVERSITIES, et al.                             )
                                                  )
                             Plaintiffs,          )
                                                  )   Case No. 1:25-cv-10346
               v.                                 )
                                                  )
 DEPARTMENT OF HEALTH AND HUMAN                   )
 SERVICES, et al.,                                )
                                                  )
                             Defendants.          )
                                                  )

                    FINAL JUDGMENT AND PERMANENT INJUNCTION

       Pending before the Court is the Defendant’s Assented-to Motion to Convert Order on

Preliminary Injunction into Order on Permanent Injunction and Enter Final Judgment. After


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reviewing the motion, the record, and the applicable law, the Court is of the opinion that the

motion should be GRANTED.

          For reasons stated in this Court’s Memorandum and Order on Plaintiffs’ Motion for

Preliminary Injunction, see Massachusetts v. NIH, Case No. 1:25-cv-10338, Doc. No. 105, the

Court finds that this Court has jurisdiction over Plaintiffs’ claims, and that the Court of Federal

Claims does not have exclusive jurisdiction over Plaintiffs’ claims under the Tucker Act, 28

U.S.C. § 1491(a)(1). The Court concludes that Plaintiffs in the above-captioned cases have

demonstrated success on the merits of their Administrative Procedure Act claims that the

issuance of the 2024 National Institutes of Health (NIH) Notice Number NOT-OD-25-068

(hereinafter, “Notice Number NOT-OD-25-068”): (1) violated 45 C.F.R. § 75.414 and Section

224 of the Further Consolidated Appropriations Act, 2024, Public Law 118-47;1 (2) was

arbitrary and capricious;2 (3) failed to follow notice-and-comment procedures;3 and (4) was

impermissibly retroactive.4

          Accordingly, the Court concludes that entry of a permanent injunction is appropriate. See

Caroline T. v. Hudson Sch. Dist., 915 F.2d 752, 755 (1st Cir. 1990) (“Where a plaintiff seeks



1
    See Doc. No. 1 in Mass. v. NIH, Case No. 1:25-cv-10338 (Counts II and III); Doc. 1 in AAMC
    v. NIH, Case No. 1:25-cv-10340 (Count 1 and II); Doc. 1 in AAU v. HHS, Case No. 1:25-cv-
    10346 (Counts I, III, and V).
2
 See Doc. No. 1 in Mass. v. NIH, Case No. 1:25-cv-10338 (Count I); Doc. 1 in AAMC v. NIH,
Case No. 1:25-cv-10340 (Count III); Doc. 1 in AAU v. HHS, Case No. 1:25-cv-10346 (Count
IV).
3
 See Doc. No. 1 in Mass. v. NIH, Case No. 1:25-cv-10338 (Count V); Doc. 1 in AAMC v. NIH,
Case No. 1:25-cv-10340 (Count IV); Doc. 1 in AAU v. HHS, Case No. 1:25-cv-10346 (Count
VI).
4
 See Doc. No. 1 in Mass. v. NIH, Case No. 1:25-cv-10338 (Count III); Doc. 1 in AAMC v. NIH,
Case No. 1:25-cv-10340 (Count V); Doc. 1 in AAU v. HHS, Case No. 1:25-cv-10346 (Count
VIII).
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permanent injunctive relief, the test is the same, except that ‘the movant must show actual

success on the merits of the claim, rather than a mere likelihood of such success.’”) (quoting K-

Mart Corp. v. Oriental Plaza, Inc., 875 F.2d 907, 915 (1st Cir. 1989)).

           Therefore, it is hereby ORDERED:

           1.    The Court has subject matter and personal jurisdiction over this action and the

Parties.

           2.    Venue is proper before this District.

           3.    For the reasons stated in this Court’s Memorandum and Order on Plaintiffs’

Motion for Preliminary Injunction, see Massachusetts v. NIH, Case No. 1:25-cv-10338, Doc. No.

105, in Massachusetts, et al. v. NIH, et al., Case No. 1:25-cv-10338, judgment is entered in favor

of the Plaintiffs in that action on the following claims brought against the National Institutes of

Health; Jay Bhattacharya, M.D., Ph.D., in his official capacity as Director of the National

Institutes of Health; the United States Department of Health and Human Services; and Robert F.

Kennedy, Jr., in his official capacity as Secretary of Health and Human Services: Count I; Count

II; Count III; Count IV; and Count V.

           4.    For the reasons stated in this Court’s Memorandum and Order on Plaintiffs’

Motion for Preliminary Injunction, see Massachusetts v. NIH, Case No. 1:25-cv-10338, Doc. No.

105, in Association of American Medical Colleges, et al. v. NIH, et al., Case No. 1:25-cv-10340,

judgment is entered in favor of the Plaintiffs in that action on the following claims brought

against the National Institutes of Health; Jay Bhattacharya, M.D., Ph.D., in his official capacity

as Director of the National Institutes of Health; the United States Department of Health and

Human Services; and Robert F. Kennedy, Jr., in his official capacity as Secretary of Health and




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Human Services: Count I; Count II; Count III; Count IV; and Count V, as to the claim of a

violation of the statutory prohibition on retroactivity.

       5.      For the reasons stated in this Court’s Memorandum and Order on Plaintiffs’

Motion for Preliminary Injunction, see Massachusetts v. NIH, Case No. 1:25-cv-10338, Doc. No.

105, in Association of American Universities, et al. v. NIH, Case No. 1:25-cv-10346, judgment is

entered in favor of the Plaintiffs in that action on the following claims brought against the United

States Department of Health and Human Services; the National Institutes of Health; Robert F.

Kennedy, Jr., in his official capacity as Secretary of Health and Human Services; and Jay

Bhattacharya, M.D., Ph.D., in his official capacity as Director of the National Institutes of

Health: Count I; Count III; Count IV; Count V; Count VI; and Count VIII.

       6.      Defendants and their officers, employees, servants, agents, appointees, and

successors are hereby ENJOINED from taking any steps to implement, apply, or enforce Notice

Number NOT-OD-25-068, issued by the Office of the Director of the National Institutes of

Health on February 7, 2025, in any form with respect to institutions nationwide.

       7.      Pursuant to 5 U.S.C. § 706(2), the Court VACATES, in its entirety, Notice

Number NOT-OD-25-068, issued by the Office of the Director of the National Institutes of

Health on February 7, 2025.

       8.      The following claim in Association of American Medical Colleges, et al. v. NIH,

et al., Case No. 1:25-cv-10340, is dismissed without prejudice: Count V, as to the claim of a

violation of the constitutional prohibition on retroactivity.

       9.      The following claims in Association of American Universities, et al. v. NIH, Case

No. 1:25-cv-10346, are dismissed without prejudice: Count II and Count VII.

This is a Final Judgment. It is SO ORDERED.


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Dated: April 4, 2025                       /s/ Angel Kelley
                                           Hon. Angel Kelley
                                           United States District Judge




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